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                                                                                IN THE UNITED STATES DISTRICT COURT

                                                                                  FOR THE DISTRICT COURT OF ALASKA


                                                            FREDILITO TUMBAGA, EVAN
                                                            TUMBAGA, JADEN TUMBAGA,                         Case No. 3:06-cv-247-SLG
                                                            AND JUSTIN TUMBAGA BY
                                                            EVAN TUMBAGA,

                                                                             Plaintiff,

                                                             vs.
                      Phone 907-279-9999 Fax 907-258-3804




                                                            UNITED STATES OF AMERICA
FLANIGAN & BATAILLE
                          1007 West 3rd Ave., Suite 206
                            Anchorage, Alaska 99501




                                                                           Defendant

                                                                                                  NOTICE OF APPEAL

                                                                    Notice is hereby given that plaintiffs’ Fredilito Tumbaga, Evan Tumbaga, Jaden

                                                            Tumbaga and Justin Tumbaga hereby appeals to the United States Court of Appeals for the

                                                            Ninth Circuit from the final judgment in the above named case finding in favor of the

                                                            defendant in this matter dated August 7, 2012 and the denial of Plaintiff’s motion to alter or

                                                            amend the Judgment decided 9/21/12.



                                                            Notice of Appeal
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                                                                     DATED this 16th day of October, 2012.


                                                                                                    FLANIGAN & BATAILLE
                                                                                                    ATTORNEYS FOR PLAINTIFF
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                                                            CERTIFICATE OF SERVICE
                                                            I HEREBY CERTIFY that a true and correct copy of:
                                                            Notice of Appeal
                                                            was served by electronic means this 16th day of October, 2012 on:

                                                            Susan Lindquist              Peter R. Ehrhardt
                                                            Blaine D. Gilman

                                                            ______s/ Michael W. Flanigan_______________
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